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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-cv-00279-DDD-KLM

   SEIFULLAH CHAPMAN,

             Plaintiff,

   v.

   FEDERAL BUREAU OF PRISONS,
   GEORGE SANTINI, MD, individually,
   ANTHONY OSAGIE, PA, individually, and
   RONALD CAMACHO, PA, individually,

             Defendants.


                                       JOINT STATUS REPORT



             On August 2, 2018, this Court administratively closed this case pursuant to

   D.C.COLO.LCivR41.2 and ordered the parties to submit status reports updating it on pending

   appeals if “there is a development in either appeal that needs to be reported.” Doc. 407 at 4.

   Pursuant to that order, the parties submit this Joint Status Report. This Status Report notifies the

   Court that on February 13, 2020, the Tenth Circuit issued its Order and Judgment on the

   individual-capacity defendants’ interlocutory appeal of the Court’s denial of qualified

   immunity at summary judgment in this case. See Doc. 430 at 26.

        I.   Background

             Mr. Chapman’s remaining claims allege that Defendants acted with

   deliberate indifference to Mr. Chapman’s Type 1 diabetes in violation of the Eighth




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   Amendment’s Cruel and Unusual Punishments clause. See Doc. 407 at 1-2. For relief, Mr.

   Chapman seeks damages against the three individually named Defendants, Dr. George Santini,

   Anthony Osagie, and Ronald Camacho, pursuant to Bivens v. Six Unknown Named Agents of

   Fed. Bureau of Narcotics, 403 U.S. 388 (1971), and sought an injunction against Defendant

   Federal Bureau of Prisons (“BOP”). The parties agree that the injunctive-relief claim against the

   BOP is moot. The BOP filed an unopposed motion to dismiss that claim, which is pending. Doc.

   425.

          While litigation in this case was ongoing, Mr. Chapman filed a motion under 28 U.S.C.

   § 2255 in the Eastern District of Virginia requesting that the court vacate three of his convictions

   imposed under 18 U.S.C. § 924(c). See Chapman v. United States, 326 F. Supp. 3d 228, 248

   (E.D. Va. 2018). Mr. Chapman was originally convicted of conspiracy to violate the Neutrality

   Act, conspiracy to contribute material support to a designated foreign terrorist organization,

   conspiracy to possess and use firearms in relation to a crime of violence under 18 U.S.C. §

   924(o), and two counts of the use of a firearm in connection with a crime of violence under

   Section 924(c). See United States v. Khan, 309 F. Supp. 2d 789 (E.D. Va. 2004), aff’d in part

   and remanded in part, 461 F.3d 477 (4th Cir. 2006). Mr. Chapman’s motion to vacate relied on

   the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551, 2557 (2016), and

   argued that, for the same reasons articulated by the Court in Johnson, 18 U.S.C. § 924(c)(3)(B) is

   unconstitutionally vague.

           On July 20, 2018, Judge Leonie M. Brinkema granted Mr. Chapman’s motion to vacate

   and ordered his immediate release from Defendant BOP’s custody. Chapman, 326 F. Supp. 3d at




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   248. Because Mr. Chapman had already served the term of his sentence on the two remaining

   counts, Judge Brinkema ordered Mr. Chapman’s immediate release. See Doc. 400-1 at 1.

          In the instant case, Defendants filed for summary judgment on Mr. Chapman’s

   Bivens and injunctive-relief claims. Doc. 269 and 270. The Court denied both motions, and the

   individual defendants took an interlocutory appeal as to the denial of qualified

   immunity. See Doc. 374.

          After Mr. Chapman’s release from prison, the Court ordered this case administratively

   closed pursuant to D.C.COLO.LCivR41.2. Doc. 407.

          After his release, Mr. Chapman served more than a year of supervised release. Doc. 424

   at 2. Mr. Chapman then filed a motion in the Eastern District of Virginia requesting early

   termination of his supervised release. Id. Judge Brinkema granted this motion on January 22,

   2020. See Doc. 424-1 at 3.

    II.   The Tenth Circuit Appeal

          The parties fully briefed the appeal in Chapman v. Santini, et al., No. 18-1117, and the

   Tenth Circuit held oral argument on November 15, 2018. Doc. 424 at 1. The Tenth Circuit issued

   its opinion on February 13, 2020, affirming this Court’s denial of qualified immunity to the

   individual defendants. See Doc. 430 at 3.

          If the individual defendants wish to seek further appellate review, the deadline to petition

   the Tenth Circuit for rehearing is March 29, 2020. Fed. R. App. P. 40(a)(1). The individual

   defendants may also petition for certiorari to the Supreme Court. If the individual defendants

   decline to seek further appellate review, the Tenth Circuit’s mandate will issue April 5, 2020.

   Fed. R. App. P. 41(b). Once the mandate issues, the parties will request a status conference.



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   Dated March 18, 2020.

                                     Respectfully Submitted,

                                     s/ Annika Adams
                                     Annika Adams, Student Attorney

                                     s/ Susannah Rogers
                                     Susannah Rogers, Student Attorney

                                     s/ Taylor Volkman
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 18, 2020, I electronically filed the foregoing JOINT
   STATUS REPORT with the Clerk of Court using the CM/ECF system which will send
   electronic notification to the following:

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   Counsel for Defendants



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